Case 4:23-cv-04155-YGR Document 52-5 Filed 11/24/23 Page 1 of 5




   EXHIBIT                                            D
        Case 4:23-cv-04155-YGR Document 52-5 Filed 11/24/23 Page 2 of 5


From:             Ernest Galvan
To:               Mattioli, Madison (USAMT); Cziok, Abbie (USAMT); Smith, Mark (USAMT); Tatarka, Tim (USAMT)
Cc:               Kara Janssen; Oren Nimni; Susan Beaty
Subject:          RE: Case No.: 4:23-cv-04155 [IMAN-DMS.FID66630]
Date:             Thursday, November 9, 2023 2:44:48 PM
Attachments:      image001.png


Counsel—

Thanks for your prompt response. We will forego filing any supplemental evidence in order to keep
the current schedule in light of the dire conditions at FCI Dublin.

Ernest Galvan
ROSEN BIEN GALVAN & GRUNFELD LLP
101 Mission Street, 6th Floor
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(415) 296-2293 (direct)
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at rbg@rbgg.com



From: Mattioli, Madison (USAMT) <Madison.Mattioli@usdoj.gov>
Sent: Thursday, November 9, 2023 1:36 PM
To: Ernest Galvan <EGalvan@rbgg.com>; Cziok, Abbie (USAMT) <Abbie.Cziok@usdoj.gov>; Smith,
Mark (USAMT) <Mark.Smith3@usdoj.gov>; Tatarka, Tim (USAMT) <Tim.Tatarka@usdoj.gov>
Cc: Kara Janssen <KJanssen@rbgg.com>; Oren Nimni <oren@rightsbehindbars.org>; Susan Beaty
<susan@ccijustice.org>
Subject: RE: Case No.: 4:23-cv-04155 [IMAN-DMS.FID66630]

[EXTERNAL MESSAGE NOTICE]
Counsel,

We appreciate the offer to stipulate to extended deadlines as set forth in the entrained. However,
we have several concerns.

First, we cannot know whether a week will be sufficient time to respond to the new material. This
request is also anomalous, and would introduce new facts that will be used to augment or address
new arguments in a reply brief. Defendants will not have a chance to address such arguments –
effectively subverting the usual motion practice paradigm where new arguments and new facts
cannot be introduced in a reply brief. This proposal was also put forth so late that our office can
have no assurances the Court will accept the rescheduling proposal. Not filing our brief on the
          Case 4:23-cv-04155-YGR Document 52-5 Filed 11/24/23 Page 3 of 5


established deadline is especially untenable here given Local Rule requirements that final briefs be
submitted a certain interval before the hearing date (which conflicts with your proposal), and other
existing deadlines related to other FCI Dublin cases.

We would not object to you withdrawing the pending motion for preliminary injunction, and filing a
new motion incorporating all declarations and argument you think necessary for the Court to decide
the matter. We believe a motion to vacate the December 11 hearing would also be necessary, and
again we would not oppose. This would reset all applicable deadlines by default, and preserve the
integrity of the usual motion practice structure.

If this is not acceptable, we will plan on filing our Opposition on Monday, November 13, as currently
scheduled.

Please let us know. Thanks.

Madison

                          Madison L. Mattioli
                          Assistant United States Attorney
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From: Ernest Galvan <EGalvan@rbgg.com>
Sent: Thursday, November 9, 2023 11:37 AM
To: Mattioli, Madison (USAMT) <MMattioli@usa.doj.gov>; Cziok, Abbie (USAMT)
<ACziok@usa.doj.gov>
Cc: Kara Janssen <KJanssen@rbgg.com>; Oren Nimni <oren@rightsbehindbars.org>; Susan Beaty
<susan@ccijustice.org>
Subject: [EXTERNAL] RE: Case No.: 4:23-cv-04155 [IMAN-DMS.FID66630]


         Dear Counsel—

         In your email below you say you will deal with the retaliation allegations we wrote to
         you about on Oct. 31 in the proceedings before the district court. In order to facilitate
         that we will file a supplemental statement today, detailed the facts in our letter and
         supported by declarations.

         In light of today’s new filing, we are willing to stipulate to move your response
         deadline, now Nov. 13, one week to Nov. 20, provided that our reply deadline move to
         December 1. Please respond by “reply all” to this email.
        Case 4:23-cv-04155-YGR Document 52-5 Filed 11/24/23 Page 4 of 5



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From: "Mattioli, Madison (USAMT)" <Madison.Mattioli@usdoj.gov>
Date: November 2, 2023 at 10:29:41 AM PDT
To: Kara Janssen <KJanssen@rbgg.com>, Oren Nimni <oren@rightsbehindbars.org>,
susan@ccijustice.org
Cc: "Cziok, Abbie (USAMT)" <Abbie.Cziok@usdoj.gov>, "Smith, Mark (USAMT)"
<Mark.Smith3@usdoj.gov>, "Tatarka, Tim (USAMT)" <Tim.Tatarka@usdoj.gov>, "Lo, Michelle
(USACAN)" <Michelle.Lo@usdoj.gov>, "Johann, Pamela (USACAN)" <Pamela.Johann@usdoj.gov>
Subject: Case No.: 4:23-cv-04155


       [EXTERNAL MESSAGE NOTICE]
       Hi, Kara, Oren, and Susan – we received your letter dated October 31, 2023, addressed
       to Michelle Lo, Pam Johann, and Jesse Laslovich.

       Abbie Cziok and I are civil AUSAs in the District of Montana, and we have been assigned
       to Case No.: 4:23-cv-04155. In response to your letter, we understand that this matter
       is already being litigated on an emergency basis by way of the pending motion for a
       preliminary injunction. We intend to respond to Plaintiffs’ allegations in those
       proceedings.

       Please direct future correspondence regarding Case No. 4:23-cv-04155 to Abbie and
       me.

       Thanks!
       Madison
 Case 4:23-cv-04155-YGR Document 52-5 Filed 11/24/23 Page 5 of 5


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